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 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,    )                     Case №:2:14-CR-00083 GEB
                                  )
10              Plaintiff,        )                          ORDER SEALING DOCUMENT
                                  )
11        vs.                     )
     MIHRAN MELKONYAN, ROUSLAN )
12   AKHMEROV, ALEKSANDR          )
     MASLOV, and RUSLAN KIRILYUK, )
13                                )
                Defendants.       )
14
15
16          On February 9, 2017, Defendant Aleksandr Maslov emailed chambers a request to seal

17   his competency evaluation report dated February 7, 2017, which was prepared by Dr. Barbara
18   McDermott; a proposed conclusory sealing order; and the report. However, defendant Maslow
19   has not shown that the extent of the secrecy he seeks is authorized under applicable sealing
20   jurisprudence. Nevertheless the sealing request is granted with the understanding that whatever
21   portion of the sealed report that is relied on by a party shall be filed in some manner on the
22   public docket, unless a party seeks and is granted authority under the applicable sealing standard
23   to keep sealed what is referenced, or some portion thereof.
24          The Clerk of Court shall file the report under seal and in the text portion of the docket
25   state: “Sealed Dr. McDermott competency evaluation.”
26          IT IS SO ORDERED.
27   Dated: February 10, 2017
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